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                                                      THE HONORABLE JOHN C. COUGHENOUR
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                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9        UNTED STATES OF AMERICA,                           CASE NO. CR17-0203-JCC
10                             Plaintiff,                    PROTECTIVE ORDER
11                     v.

12        ROBIN PERRY,

13                             Defendant.
14

15          This matter comes before the Court on a stipulated motion for discovery protective order
16   between the United States and Defendant Robin Perry (Dkt. No. 101).
17          The Court hereby GRANTS the motion and enters the following order:
18                               DISCOVERY PROTECTIVE ORDER
19   A.     Definitions
20          As used in this Order, the term “Protected Information” means any date of birth, Social
21   Security number, driver’s license number, bank account number, credit card number, personal
22   identification number, address, telephone number, name and/or location of employment, criminal
23   history record, background check, victim identity, and/or any other similar information or
24   number implicating a privacy interest of and belonging to an individual, business, partnership, or
25   corporation.
26



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 1          As used in this Order, the term “Protected Material” means any document or other record

 2   containing or reflecting Protected Information.

 3   B.     Permissible Disclosure of Protected Information and Protected Material
 4          The United States will make available copies of the Protected Material to defense counsel
 5   to comply with the government’s discovery obligations. Possession of the Protected Material is
 6   limited to defense counsel, their investigators, paralegals, assistants, law clerks, and experts
 7   (“members of the defense team”).
 8          Members of the defense team may not provide copies of the Protected Material to other
 9   persons, including defendants themselves. Members of the defense team may review Protected
10   Information and/or Protected Material with defendants. The defendants may visually inspect and
11   review such documents but shall not be allowed to possess Protected Information (such as
12   unredacted copies of Protected Material, notes, copies, or photographs of such Protected Material
13   containing Protected Information). The defendants may possess documents from which all
14   Protected Information has been redacted.
15          Members of the defense team may review or discuss the contents of documents
16   containing Protected Material with any prospective witness, as long as they do not share the
17   unredacted documents, or share any Protected Information with any prospective witness.
18   C.     Filing
19          If any Protected Information or Protected Material is filed in court or otherwise
20   disseminated as part of litigation, the parties shall redact such information prior to filing; unless,
21   based on a party’s application prior to filing, the Court finds that an unredacted filing is
22   necessary and appropriate.
23   D.     Maintenance
24          Members of the defense team shall keep any Protected Material secured whenever the
25   Protected Material is not being used in furtherance of their work in the above-captioned case.
26          All documents containing Protected Material shall be returned to the



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 1   United States, or destroyed, once all charges are resolved by dismissal or by final conviction.

 2   The provisions of this Order shall not terminate at the conclusion of this prosecution.

 3   E.     Modification

 4          The parties agree that this Protective Order may be modified, as necessary, by filing with

 5   the Court a Stipulated Order Modifying the Protective Order, or by other order of the Court.

 6          IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

 7   DATED: October 13 , 2017                      /s/Marie M. Dalton

 8                                                 Attorney for Plaintiff United States of America
 9   DATED: October 13, 2017                       /s/Sean P. Gillespie

10                                                 Attorney for Defendant Robin Perry

11   PURSUANT TO STIPULATION, IT IS SO ORDERED.

12          DATED this 25th day of October 2017.




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                                                          John C. Coughenour
16                                                        UNITED STATES DISTRICT JUDGE
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